General Statutes 49-73a provides that "[t]he interest of each person in the proceeds of any policy issued by an insurance company providing fire insurance coverage for loss or damages caused by fire on an item of real estate . . . shall be subject to any tax lien on such item of real estate continued pursuant to the provisions of section 12-173." The relevant provision of 12-173 requires that the tax collector of a municipality file a certificate of lien continuation with the town clerk containing "a statement giving notice of his intention to file a lien pursuant to sections 12-172 and 49-73a
to 49-73i, inclusive, against the proceeds of any policy of insurance providing coverage for loss or damage caused by fire, if a loss or damage has occurred." The affidavits furnished by the defendant in support of its motion for summary judgment fail to show compliance by the tax collector of the city of Hartford with the statutory certificate requirement.
Furthermore, the affidavits do not show compliance with the provisions of General Statutes49-73d. The affidavits of the defendant's claims manager and the deputy town clerk of Hartford merely assert that the defendant, through its independent adjuster, notified the city of Hartford on May 8, 1981, of its intention to pay fire insurance proceeds or losses to the owners of property located at 963 Capitol Avenue, Hartford. The manner and form of such notice are not indicated by either affidavit. Thus, there is no showing of a "demand in writing, by registered or certified mail, that a statement indicating the amount of all liens filed pursuant to sections49-73a and 49-73b be delivered to such insurance company at a specified address, in person or by registered or certified mail, within twenty days from the date of receipt by the town clerk of such demand." General Statutes 49-73d (a).
In addition, the deputy town clerk's certified letter dated May 28, 1981, addressed to D.C. Dodge, Sr., *Page 728 
Adjuster, A.E. Oberhaus, Inc., the independent adjuster, while purporting to contain "tax liens in existence" recorded in compliance with the pertinent statutes, merely enclosed a composite statement, dated May 11, 1981, of accrued taxes on the lists of 1977 through 1980, including lien and interest charges. There is nothing to show the recordation of continuation certificates filed under and containing the requirements set forth in12-173, including the statement of intention to file a lien against insurance proceeds for fire damage to the taxable real estate.
Additionally, the affidavits filed by the defendant in support of its motion for summary judgment fail to show that a statement of the town clerk indicating the amount of all liens on proceeds of fire insurance pursuant to 49-73d was "delivered to such insurance company . . . within twenty days from the date of receipt by the town clerk of such demand [for notice]." The affidavit of the deputy town clerk merely states that on May 8, 1981, the defendant notified the city of Hartford of its intention to pay fire insurance proceeds to the property owners and on May 28, 1981, the city notified the defendant by "registered" mail of the existence of delinquent taxes, with a copy of notice attached. The affidavit of the defendant's claims manager states that on May 8, 1981, the defendant, through A.E. Oberhaus, Inc., its adjuster, notified the city of its intention to pay fire losses on the property and on May 28, 1981, the city sent a "registered" letter to A.E. Oberhaus, Inc., notifying the defendant of tax liens on the property. The notice attached to the deputy town clerk's affidavit, bearing the legend "5128181 Certified 788073," indicates that a certified letter was sent to the defendant's independent adjuster on May 28, 1981, the twentieth day from the date of receipt of the purported notice of statutory demand on May 8, 1981. One may presume that the certified ("registered") letter *Page 729 
was not delivered the same day. In any event, there is no showing of the required delivery of the statutory statement of fire proceeds liens to the defendant within the required twenty days.
Section 49-73d (a) specifically provides that "[u]pon the failure of the town clerk to notify the insurance company of the existence of any such liens in said manner, the right of the municipality to claim against any such proceeds shall terminate and the lien thereon shall be dissolved." (Emphasis added.) Although the statute provides for conclusive reliance by the insurance company on the amount of taxes due as set forth in such notice of lien, there can be no reliance where the notice of lien has not been given in the manner and within the time prescribed by the statute.
The defendant cannot rely upon the immunity provided by General Statutes 49-73g for payments made to a municipality pursuant to the fire insurance tax lien statutes. That section absolves an insurance company of liability "for any amounts paid by it to a municipality pursuant to the provisions of section 12-172 and 49-73a to 49-73i, inclusive, and in reliance upon information contained in any statement provided by a municipality pursuant to section 49-73d." (Emphasis added.) "In the construction of the statutes, words and phrases shall be construed according to the commonly approved usage of the language." General Statutes 1-1 (a). The generally accepted meaning of "pursuant to" is "in conformance to or agreement with." Webster, Third New International Dictionary. The defendant's affidavits and accompanying documents do not show conformity with the relevant statutory requirements; absent this prerequisite, the defendant cannot claim the benefit of immunity provided by 49-73g.
I would, therefore, find error in the summary judgment granted by the trial court in favor of the defendant. *Page 730 